B 1 (Official Form 1) (1/08)
                                         United States Bankruptcy Court
                                                                                                                                                                      AZB
                                                                                                                                          Voluntary Petition

 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  BBZ Resource Management, Inc.
 All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
  n/a
 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN               Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):                                                                 (if more than one, state all):
  XX-XXXXXXX
 Street Address of Debtor (No. and Street, City, and State):                                    Street Address of Joint Debtor (No. and Street, City, and State):
 230 East Brown Ave., Suite 117
 Mesa, Arizona
                                                                      ZIP CODE 85201                                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
  Maricopa
 Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):
  n/a

                                                                 ZIP CODE                                                                                    ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
  Same as above                                                                                                                                           ZIP CODE
                      Type of Debtor                                      Nature of Business                               Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                      (Check one box.)                                                the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                                 Chapter 7               Chapter 15 Petition for
        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in               Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                         ✔       Chapter 11              Main Proceeding
  ✔     Corporation (includes LLC and LLP)                         Railroad                                             Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                          Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                             Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                              ✔ Other                                                                    Nature of Debts
                                                               rebate certificates/data
                                                              ___________________________________                                        (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                     Debts are primarily consumer     ✔ Debts are primarily
                                                                                                                      debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization             § 101(8) as “incurred by an
                                                                      under Title 26 of the United States             individual primarily for a
                                                                      Code (the Internal Revenue Code).               personal, family, or house-
                                                                                                                      hold purpose.”
                                 Filing Fee (Check one box.)                                                                     Chapter 11 Debtors
                                                                                                Check one box:
  ✔     Full Filing Fee attached.                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

        Filing Fee to be paid in installments (applicable to individuals only). Must attach     ✔     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court’s consideration certifying that the debtor is
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.           Check if:
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                insiders or affiliates) are less than $2,190,000.
        attach signed application for the court’s consideration. See Official Form 3B.          -----------------------------------
                                                                                                Check all applicable boxes:
                                                                                                    A plan is being filed with this petition.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
  ✔        Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
                                                             ✔
 1-49          50-99           100-199        200-999        1,000-          5,001-         10,001-         25,001-           50,001-          Over
                                                             5,000           10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                                                             ✔
 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
 Estimated Liabilities
                                                             ✔
 $0 to         $50,001 to $100,001 to $500,001 $1,000,001  $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
 $50,000        Case 2:09-bk-14825-DPC
               $100,000   $500,000    to $1    to $10Doc 1 to $50
                                                               Filed 06/29/09
                                                                       to $100     Entered
                                                                                   to $500     06/29/09
                                                                                                 to $1 billion 21:53:17
                                                                                                                  $1 billion                                   Desc
                                      million  million     million
                                                     Main Document     million     million
                                                                              Page 1 of 3
B 1 (Official Form 1) (1/08)
 Voluntary Petition                                                                 Name of Debtor(s):
                                                                                                                                                                    AZB   Page 2

 (This page must be completed and filed in every case.)                              BBZ Resource Management, Inc.
                                  All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed: none
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
                    Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                    Case Number:                                     Date Filed:
                     none
 District:                                                                                      Relationship:                                    Judge:

                                         Exhibit A                                                                                Exhibit B
                                                                                                                  (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                             whose debts are primarily consumer debts.)
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                available under each such chapter. I further certify that I have delivered to the
                                                                                                debtor the notice required by 11 U.S.C. § 342(b).

        Exhibit A is attached and made a part of this petition.                                 X
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                    Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  ✔     No.



                                                                                   Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                   Information Regarding the Debtor - Venue
                                                                            (Check any applicable box.)
              ✔       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                      preceding the date of this petition or for a longer part of such 180 days than in any other District.

                      There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                      has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                      this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                        (Check all applicable boxes.)

                         Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                         entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                         Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
                         filing of the petition.

                  CaseDebtor
                       2:09-bk-14825-DPC                       Doc
                             certifies that he/she has served the    1 with
                                                                  Landlord Filed    06/29/09
                                                                              this certification.       Entered
                                                                                                  (11 U.S.C. § 362(l)).06/29/09 21:53:17                        Desc
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